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                                  UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF GEORGIA
                                     BRUNSWICK DIVISION                                             FIL; D
                                                                                              U.S . DIST. COURT
                                                                                              BRUNSWICK VV.
UNITED STATES OF AMERIC A
                                                                                           2Q05 JUL 19 ~ P 13 1
       vs.                                                              CR201- 00001-002
                                                                                       C' E
Christopher Adam Alston


                           ORDER DISMISSING THE PETITION ALLEGING
                              VIOLATION OF SUPERVISED RELEASE


           On August 6, 2001, the defendant, Christopher Adam Alston, represented by Attorney Thomas

G. Smith, appeared before the Court for sentencing for the offense of possession with intent to distribute

marihuana. The Court sentenced Alston to twenty-one (21) months imprisonment to be followed by

three (3) years of supervised release with the special condition that he complete two hundred fifty (250)

hours of community service within the first eighteen (18) months of supervision . On November 9, 2004,

the Court gave Alston six (6) additional months to complete the community service .

           On July 12, 2005, a summons for the defendant was issued by the Court after a petition was filed

by the probation officer to revoke or modify supervised release for failure to complete the community

service.

           In a memorandum to the Court dated July 19, 2005, the probation officer recommended that the

petition to revoke or modify the defendant's supervised release be dismissed since Alston completed the

balance of community service on July 18, 2005 .

       After review of the information provided by the probation officer, the Court orders that the

petition for revocation be dismissed.

           SO ORDERED this        I~    day of July 2005 .




                                                 Judge, U.S. District [Court
                      Case 2:01-cr-00001-AAA Document 126 Filed 07/19/05 Page 2 of 2


                                    UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF GEORGIA
                                                 PROBATION OFFIC E

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     MEMORANDU M
     DATE : July 19, 200 5

     TO : Honorable Anthony A. Alaimo
               Judge, U .S. District Court

     FROM : David M . Paga
              U.S . Probation Office r

     RE : Christopher Adam Alston
                 CR201-00001-002
                 Brunswick Division
                           Represented by : Thomas G. Smith


     This officer submitted a petition to Your Honor on July 12, 2005, alleging that Alston had violated
     the terms and conditions of his supervised release by failing to complete 250 hours of community
     service within the time allocated by the Court. A summons for Alston was issued by the Court and
     a revocation hearing has been scheduled for July 29, 2005 .

    On July 18, 2005, this officer received verification from Blythe Island Regional Park, Brunswick,
    that Alston completed the remaining hours of community service . Therefore, this officer
    respectfully recommends that the petition for revocation of Alston's supervised release be dismissed .
    If the Court concurs with this recommendation, attached is a proposed order dismissing the petition .

    DMP/kw

    Attachment
